CHESTER F. MORROW, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Morrow v. CommissionerDocket Nos. 10488, 13011.United States Board of Tax Appeals9 B.T.A. 448; 1927 BTA LEXIS 2584; December 1, 1927, Promulgated *2584  The petitioner maintaining a residence for himself, his brother, and five sisters, all of whom are more than eighteen years old and not dependent on him for support, is not entitled to the exemption granted the head of a family by section 216(c) of the Revenue Acts of 1921 and 1924, though he in fact contributes to the support of his brother and sisters.  H. W. Schultheis, Esq., and Alfred S. Niles, Esq., for the petitioner.  A. G. Bouchard, Esq., for the respondent.  LOVE*449  These proceedings result from the determination by the respondent of deficiencies in income tax for the calendar years 1923 and 1924 in the amounts of $60 and $45, respectively, and of which deficiencies he advised the petitioner with separate notices as to each year.  The deficiencies arise by reason of the respondent's determination that the petitioner was not entitled to an exemption as head of a family for the years in question, which action resulted in reducing the amount of petitioner's personal exemption.  The proceedings were consolidated and submitted upon stipulated facts.  FINDINGS OF FACT.  The petitioner is an individual residing in Baltimore, Md.*2585  , and was a resident thereof during the years 1923 and 1924.  During the years 1923 and 1924, the petitioner owned and maintained his own home in the County of Baltimore, in which he resided with his brother and five sisters, all of whom were more than 18 years of age and physically and mentally capable of self-support.  During the year 1923, the expense of maintaining the household in which the petitioner resided aggregated $6,321.12, of which amount petitioner paid $3,861.12, the brother $500, and the five sisters $1,900.  During the year 1924 the total expenses incurred in maintaining the household were $6,295.98, of which amount petitioner paid $3,835.98, the brother $500 and his five sisters $1,960.  The petitioner duly filed income-tax returns for the years 1923 and 1924.  In his return for 1923 he claimed an exemption of $2,000 as head of a family and in his return for 1924 he claimed an exemption of $2,500 as head of a family.  Upon audit of the returns, the Commissioner determined that the petitioner was not entitled to the exemption claimed and reduced the personal exemption for each year to the amount of $1,000.  OPINION.  LOVE: By section 216(c) of the Revenue*2586  Acts of 1921 and 1924, it is provided that in computing the normal tax a single person shall be allowed a personal exemption of $1,000 and the head of a family shall be allowed an exemption of $2,500, except that the Revenue Act of 1921 restricts this exemption to $2,000 where the net income is in excess of $5,000.  The petitioner takes the position that during the years 1923 and 1924 he was the head of a family and is entitled to the exemption of *450  $2,000 and $2,500 for the respective years.  The respondent contends that the petitioner is entitled only to the exemption of $1,000 provided in the case of a single person.  We have heretofore had occasion to pass upon the question involved in this proceeding in . In view of the Board's reasoning in the above-quoted proceedings, we are of the opinion that the petitioner herein was not the head of a family within the meaning of the Revenue Acts of 1921 and 1924. Judgment will be entered for the respondent.Considered by TRUSSELL, SMITH, and LITTLETON.  